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Form B18 (Official Form 18)(12/01/2007)

                                       United States Bankruptcy Court
                                              Eastern District of New York
                                            290 Federal Plaza, P.O. Box #9013
                                              Central Islip, NY 11722−9013

IN RE:                                                                                                  CASE NO: 8−09−79473−ast
   James Christopher

   153 Belmont Ave.
   Elmont, NY 11003
    Name(s) used by the debtor(s) in the last 8 years, including married, maiden, trade, and address.
Social Security/Individual Taxpayer ID/Taxpayer ID/Employer ID No.:                                                CHAPTER: 7
   xxx−xx−1347
                          DEBTOR(s)




                                             DISCHARGE OF DEBTOR(S)

It appearing that the debtor(s) is entitled to a discharge,

IT IS ORDERED:

The debtor(s) is granted a discharge under Section 727 of Title 11, United States Code, (the Bankruptcy Code).



                                                                      BY THE COURT

Dated: March 15, 2010                                                 s/ Alan S. Trust
                                                                      United States Bankruptcy Judge



                     SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.
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                                  EXPLANATION OF BANKRUPTCY DISCHARGE
                                           IN A CHAPTER 7 CASE

       This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of the case and
it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

       The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged. For example,
a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach
wages or other property, or to take any other action to collect a discharged debt from the debtor(s). A creditor who
violates this order can be required to pay damages and attorney's fees to the debtor.

      However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against
the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.

Debts That are Discharged

       The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but
not all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was
begun under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts
owed when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
      while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
      discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
      compliance with the Bankruptcy Code requirements for reaffirmation of debts;

      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
      Plan for federal employees for certain types of loans from these plans (in a case filed on or after October 17,
      2005).



       This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
